

Matter of Roundtree v Burke (2021 NY Slip Op 05107)





Matter of Roundtree v Burke


2021 NY Slip Op 05107


Decided on September 28, 2021


Appellate Division, First Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: September 28, 2021

Before: Webber, J.P., Mazzarelli, González, Scarpulla, Pitt, JJ. 


Ind No. 2071/15 Appeal No. 14211 Case No. 2021-01919 

[*1]In the Matter of Juel Roundtree, Petitioner,
vHon. James Burke, et al., Respondents.


Juel Roundtree, petitioner pro se.
Letitia James, Attorney General, New York (Charles F. Sanders of counsel), for Hon. James Burke, respondent.
Cyrus R. Vance, Jr., District Attorney, New York (Sheila L. Bautista of counsel), for Cyrus R. Vance, Jr., respondent.



The above-named petitioner having presented an application to this Court praying for an order, pursuant to article 78 of the Civil Practice Law and Rules,
Now, upon reading and filing the papers in said proceeding, and due deliberation having been had thereon,
It is unanimously ordered that the application be and the same hereby is denied and the petition dismissed, without costs or disbursements.
THIS CONSTITUTES THE DECISION AND ORDER OF THE SUPREME COURT, APPELLATE DIVISION, FIRST DEPARTMENT.
ENTERED: September 28, 2021








